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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

                                                                    Case No.: 6:23-cv-0581
 EMELYN BONILLA,

        Plaintiff,

 v.

 EMERGE HEALTHCARE GROUP, LLC, a Florida
 Limited Liability Company, FCID MEDICAL, INC.
 a Florida Profit Company, FIRST CHOICE MEDICAL
 GROUP OF BREVARD, LLC, a Delaware Limited
 Liability Company, FIRST CHOICE HEALTHCARE
 SOLUTIONS, INC. a Delaware Corporation, and
 LANCE FRIEDMAN, individually,

        Defendants.
                                                         /

              DEFENDANT’S RESPONSE TO FIRST SET OF INTERROGATORIES

        Defendant, FIRST CHOICE MEDICAL GROUP OF BREVARD, LLC, by and through

 the undersigned attorney, hereby answers Plaintiff, EMELYN BONILLA’s, First Set of

 Interrogatories, numbered 1 through 10, as follows:


                     INTERROGATORIES, ANSWERS AND OBJECTIONS


 1.     Identify all persons with knowledge of facts material to any of the claims or defenses in

 this action and, as to each person, state the nature of the person’s knowledge.

        RESPONSE:

        a. Lance Friedman, Chief Executive Officer – knowledge of financial status for the

            entirety of the time subject to the complaint;

        b. Phillip Keller, Chief Financial Officer - knowledge of company’s financial status from

            July 2022 to present;

        c. Julie Hardesty, Controller – knowledge of company’s financial status for the entirety


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           of the time subject to the complaint;

        d. Rubilinda Rosado, Payroll clerk (no longer employed) – knowledge of payroll and

           payroll procedures for the entirety of the time subject to the complaint;

        e. Gillian Lee, Human Resources (no longer employed) – knowledge of personnel and

           employee benefits for the entirety of the time subject to the complaint.


 2.     Please explain when and why the Florida Blue group plan in effect during the relevant

 time period was cancelled or terminated and what steps were taken to ensure that there was not

 a lapse in coverage.

        RESPONSE: The Florida Blue group plan was fully funded through November 30,

        2021, when Respondent began to lapse on payment, due to financial obligations

        imposed by Federal Bankruptcy court. Respondent attempted to negotiate a payment

        plan with Florida Blue over the next four months. However, Florida Blue ultimately

        cancelled the group plan in April, retroactively terminating the policy as of November 30,

        2021. Respondent then attempted to obtain a group plan from United Healthcare.



 3.     Explain in detail the reason insurance premiums continued to be deducted from

 Plaintiff’s paychecks during times when Plaintiff was not covered 2021 and 2022.

        RESPONSE: No insurance premiums were withheld from Plaintiff’s paycheck at any

        time.



 4.     Please explain what was done with all those premiums deducted from Plaintiff’s

 paycheck during time when the insurance.

        RESPONSE: No insurance premiums were deducted from Plaintiff’s paycheck at any

        time.



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 5.     Please explain when and why the United Healthcare group plan in effect during the

 relevant time period was cancelled or terminated and what steps were taken to ensure that

 there was not a lapse in coverage.

        RESPONSE: Respondent obtained a group plan with United Healthcare in April 2022 in

        conjunction with using a new payroll company (TriNet HR Solutions). However, the

        relationship between TriNet and Respondent failed, resulting in the premium never being

        paid and the policy lapsing as if it had never existed. Again, Respondent attempted to

        work out payment plans with United Healthcare. However, the company was never able

        to recover after the court-imposed bankruptcy payments, and United Healthcare

        terminated the policy.



 6.     Please explain when Plaintiff received notice pursuant to COBRA, who provided said

 notice, the details of the notice and provide detail as to the contents of any communications

 between you and Plaintiff regarding COBRA notice.

        RESPONSE: No COBRA notice was sent. COBRA benefits were cancelled when the

        policy was cancelled by the carrier.


 7.     Identify your corporate officers and explain their duties, responsibilities, and functions

 within the company.

        RESPONSE:

        a. Lance Friedman, Chief Executive Officer;

        b. Phillip Keller, Chief Financial Officer - from July 2022 to present;

        c. Eric Weiss, Chief Operating Officer;

        d. Evan Kostorizos, Chief Technology Officer;

        e. Terence Herzog, Chairman (deceased).



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 8.     Please Identify by full name and address all individuals who were responsible for

 informing Plaintiff as to the lapse of insurance.

        RESPONSE: Gillian Lee (no longer employed); 95 Bulldog Blvd., Suite 201, Melbourne,

        FL 32901.


 9.     Please identify by full name and address all individuals who were responsible to pay for

 the insurance policy of Plaintiff during the relevant time periods.

        RESPONSE: The employee at the company designated to pay the insurance policies

 was Julie Hardesty, 95 Bulldog Blvd., Suite 201, Melbourne, FL 32901, upon approval by CFO.




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